             Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16 13:13:04                                                        Page:1 of 65
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF GEORGIA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Eleanor
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Jones
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Hamilton
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-9579
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
Debtor 1
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                                                                                                                                Page:2 of 65
           Eleanor Jones Hamilton




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 1067 Earle Street
                                 Thomson, GA 30824
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 McDuffie
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any              have lived in this district longer than in any other
                                        other district.                                               district.

                                        I have another reason.                                        I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                              Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
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                                                                Case number (if known)
                                                                                                                                    Page:3 of 65
            Eleanor Jones Hamilton


Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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                                                                Case number (if known)
                                                                                                                                  Page:4 of 65
            Eleanor Jones Hamilton


Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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                                                                Case number (if known)
                                                                                                                                  Page:5 of 65
            Eleanor Jones Hamilton
Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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                                                                Case number (if known)
                                                                                                                                     Page:6 of 65
            Eleanor Jones Hamilton

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                 25,001-50,000
    you estimate that you                                                            5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Eleanor Jones Hamilton
                                 Eleanor Jones Hamilton                                            Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     June 6, 2016                                      Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 6
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                                                                                                                                   Page:7 of 65
           Eleanor Jones Hamilton




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ JOHN P. WILLS                                                  Date       June 6, 2016
                                Signature of Attorney for Debtor                                              MM / DD / YYYY

                                JOHN P. WILLS
                                Printed name

                                Fowler & Wills, LLC
                                Firm name

                                318 Jackson Street
                                P.O. Box 1620
                                Thomson, GA 30824
                                Number, Street, City, State & ZIP Code

                                Contact phone     706-595-8100                               Email address       fowlerwills@gmail.com
                                767375
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
              Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16 13:13:04                                                                                  Page:8 of 65
 Fill in this information to identify your case:

 Debtor 1                   Eleanor Jones Hamilton
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................    $             38,166.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................         $               7,978.84

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................    $             46,144.84

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                     $             52,651.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                           $                     0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                             $             51,758.00


                                                                                                                                     Your total liabilities $               104,409.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................              $               3,327.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                          $               3,012.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
 Debtor 1
          Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16       13:13:04
                                                     Case number (if known)
                                                                                                                                Page:9 of 65
               Eleanor Jones Hamilton

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $          3,100.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
           Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16 13:13:04                                                                                Page:10 of 65
 Fill in this information to identify your case and this filing:

 Debtor 1                    Eleanor Jones Hamilton
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF GEORGIA

 Case number                                                                                                                                                       Check if this is an
                                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        1067 EARLE STREET                                                              Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the         Current value of the
        THOMSON                           GA        30824-0000                         Land                                       entire property?             portion you own?
        City                              State              ZIP Code                  Investment property                                 $38,166.00                   $38,166.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              FEE SIMPLE
        MCDUFFIE                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                          $38,166.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                     page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy
 Debtor 1
         Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16  13:13:04
                                                            Case number (if known)
                                                                                                                                                 Page:11 of 65
                 Eleanor Jones Hamilton
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       FORD                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      EXPLORER                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       1998                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                200,000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $3,000.00                  $3,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $3,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    MISC. HOUSEHOLD GOODS AND FURNISHINGS - SEE ATTACHED
                                    LIST                                                                                                                            $1,995.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    MISC. ELECTRONICS - SEE ATTACHED LIST                                                                                             $980.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       No
Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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 Debtor 1
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                                                             Case number (if known)
                                                                                                                                                Page:12 of 65
                  Eleanor Jones Hamilton

        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            CLOTHING - SEE ATTACHED LIST                                                                                      $2,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                    $4,975.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                     Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                CASH ON
                                                                                                                                HAND
                                                                                                                                (APPROXIMA
                                                                                                                                TE)                                 $2.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                                                                  DIRECT EXPRESS (APPROXIMATE
                                              17.1.       DEBIT                                   BALANCE)                                                          $1.84


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
       No
       Yes. Give specific information about them...................
                                  Name of entity:                                                                             % of ownership:
Official Form 106A/B                                              Schedule A/B: Property                                                                            page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
 Debtor 1
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                                                                                                                                          Page:13 of 65
                  Eleanor Jones Hamilton

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

Official Form 106A/B                                                   Schedule A/B: Property                                                                 page 4
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 Debtor 1
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                                                              Case number (if known)
                                                                                                                                                               Page:14 of 65
                 Eleanor Jones Hamilton
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                               Surrender or refund
                                                                                                                                                                 value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                  $3.84


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                              page 5
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 Debtor 1
           Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16  13:13:04
                                                              Case number (if known)
                                                                                                                                                                 Page:15 of 65
                  Eleanor Jones Hamilton

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................             $38,166.00
 56. Part 2: Total vehicles, line 5                                                                             $3,000.00
 57. Part 3: Total personal and household items, line 15                                                        $4,975.00
 58. Part 4: Total financial assets, line 36                                                                        $3.84
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                        $7,978.84             Copy personal property total           $7,978.84

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $46,144.84




Official Form 106A/B                                                               Schedule A/B: Property                                                                          page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                      Best Case Bankruptcy
Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16 13:13:04   Page:16 of 65
           Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16 13:13:04                                                           Page:17 of 65
 Fill in this information to identify your case:

 Debtor 1                 Eleanor Jones Hamilton
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      1067 EARLE STREET THOMSON, GA                                  $38,166.00                                  $5,266.00     O.C.G.A. § 44-13-100(a)(1)
      30824 MCDUFFIE County
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      1998 FORD EXPLORER 200,000 miles                                $3,000.00                                     $10.00     O.C.G.A. § 44-13-100(a)(3)
      Line from Schedule A/B: 3.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      MISC. HOUSEHOLD GOODS AND                                       $1,995.00                                  $1,995.00     O.C.G.A. § 44-13-100(a)(4)
      FURNISHINGS - SEE ATTACHED
      LIST                                                                                 100% of fair market value, up to
      Line from Schedule A/B: 6.1                                                          any applicable statutory limit

      MISC. ELECTRONICS - SEE                                             $980.00                                  $980.00     O.C.G.A. § 44-13-100(a)(4)
      ATTACHED LIST
      Line from Schedule A/B: 7.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      CLOTHING - SEE ATTACHED LIST                                    $2,000.00                                  $2,000.00     O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
         Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16        13:13:04                                                      Page:18 of 65
 Debtor 1    Eleanor Jones Hamilton                      Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     CASH ON HAND (APPROXIMATE)                                             $2.00                                     $2.00    O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     DEBIT: DIRECT EXPRESS                                                  $1.84                                     $1.84    O.C.G.A. § 44-13-100(a)(6)
     (APPROXIMATE BALANCE)
     Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 2 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
           Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16 13:13:04                                                                   Page:19 of 65
 Fill in this information to identify your case:

 Debtor 1                   Eleanor Jones Hamilton
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         HUGHES FURNITURE
 2.1                                                                                                                $377.00                     $0.00             $377.00
         CO.                                      Describe the property that secures the claim:
         Creditor's Name                          PERSONAL PROPERTY

                                                  As of the date you file, the claim is: Check all that
         P.O. BOX 95                              apply.
         THOMSON, GA 30824                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Purchase Money Security
       community debt

 Date debt was incurred          UNKNOWN                   Last 4 digits of account number        UNK

 2.2     LARRY'S AUTO SALES                       Describe the property that secures the claim:                   $4,000.00                $3,000.00           $1,000.00
         Creditor's Name                          1998 FORD EXPLORER 200,000
                                                  miles
                                                  As of the date you file, the claim is: Check all that
         1883 GORDON HIGHWAY                      apply.
         AUGUSTA, GA 30904                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          UNKNOWN                   Last 4 digits of account number        UNK

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 6
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           Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16 13:13:04                                                             Page:20 of 65
 Debtor 1 Eleanor Jones Hamilton                                                                              Case number (if know)
               First Name                  Middle Name                      Last Name




         MCDUFFIE COUNTY TAX
 2.3                                                Describe the property that secures the claim:                       $500.00       $38,166.00             $0.00
         COMMISSIONER
         Creditor's Name                            1067 EARLE STREET THOMSON,
                                                    GA 30824 MCDUFFIE County
                                                    As of the date you file, the claim is: Check all that
         P.O. BOX 955                               apply.
         THOMSON, GA 30824                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2015                        Last 4 digits of account number         UNK

 2.4     PRIOR VEAZEY CASON                         Describe the property that secures the claim:                   $26,400.00        $38,166.00             $0.00
         Creditor's Name                            1067 EARLE STREET THOMSON,
         C/O HITCHCOCK &                            GA 30824 MCDUFFIE County
         HITCHCOCK, P.C.
                                                    As of the date you file, the claim is: Check all that
         P.O. BOX 190                               apply.
         SPARTA, GA 31087                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Mortgage
       community debt

 Date debt was incurred          4/7/2009                    Last 4 digits of account number         UNK

 2.5     PRIOR VEAZEY CASON                         Describe the property that secures the claim:                     $6,000.00       $38,166.00             $0.00
         Creditor's Name                            1067 EARLE STREET THOMSON,
         C/O HITCHCOCK &                            GA 30824 MCDUFFIE County
         HITCHCOCK, P.C.
                                                    As of the date you file, the claim is: Check all that
         P.O. BOX 190                               apply.
         SPARTA, GA 31087                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Mortgage
       community debt

 Date debt was incurred          10/31/2012                  Last 4 digits of account number         UNK

 2.6     SECURITY FINANCE                           Describe the property that secures the claim:                       $200.00       Unknown                $0.00

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 6
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 Debtor 1 Eleanor Jones Hamilton                                                                              Case number (if know)
               First Name                  Middle Name                      Last Name


         Creditor's Name                            HOUSEHOLD GOODS

                                                    As of the date you file, the claim is: Check all that
         112 JACKSON STREET                         apply.
         THOMSON, GA 30824                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Non-Purchase Money Security
       community debt

 Date debt was incurred          UNKNOWN                     Last 4 digits of account number         UNK

         SOUTHERN GENERAL
 2.7                                                                                                                  $5,182.00       Unknown             $0.00
         INSURANCE COMPANY                          Describe the property that secures the claim:
         Creditor's Name                            ALL REAL AND PERSONAL
         AS SUBROGEE OF                             PROPERTY OF DEBTOR
         PERRY WATKINS
                                                    As of the date you file, the claim is: Check all that
         1904 LELAND DRIVE                          apply.
         MARIETTA, GA 30067                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          UNKNOWN                     Last 4 digits of account number         UNK

 2.8     STERLING FINANCE                           Describe the property that secures the claim:                     $1,804.00       Unknown             $0.00
         Creditor's Name                            HOUSEHOLD GOODS
         DBA ARROW FINANCE
         863 BROAD STREET
                                                    As of the date you file, the claim is: Check all that
         AUGUSTA, GA                                apply.
         30901-1214                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Non-Purchase Money Security
       community debt

 Date debt was incurred          02/13/2010                  Last 4 digits of account number         UNK

 2.9     SUNSET FINANCE                             Describe the property that secures the claim:                       $320.00       Unknown             $0.00




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 3 of 6
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 Debtor 1 Eleanor Jones Hamilton                                                                              Case number (if know)
               First Name                  Middle Name                      Last Name


         Creditor's Name                            HOUSEHOLD GOODS

                                                    As of the date you file, the claim is: Check all that
         134 RAILROAD STREET                        apply.
         THOMSON, GA 30824                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Non-Purchase Money Security
       community debt

 Date debt was incurred          7/25/2012                   Last 4 digits of account number         UNK

 2.1
 0       USA DISCOUNTERS LTD                        Describe the property that secures the claim:                     $4,183.00       Unknown              $0.00
         Creditor's Name                            ALL REAL AND PERSONAL
                                                    PROPERTY OF DEBTOR
         3320 HOLLAND RD
                                                    As of the date you file, the claim is: Check all that
         VIRGINIA BEACH, VA                         apply.
         23452-4826                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          11/25/2012                  Last 4 digits of account number         UNK

 2.1
 1       USED CARS OF HARLEM                        Describe the property that secures the claim:                     $3,675.00       Unknown              $0.00
         Creditor's Name                            ALL REAL AND PERSONAL
                                                    PROPERTY OF DEBTOR
                                                    As of the date you file, the claim is: Check all that
         P.O. BOX 988                               apply.
         HARLEM, GA 30814                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          UNKNOWN                     Last 4 digits of account number         UNK

 2.1
 2       W. S. BADCOCK                              Describe the property that secures the claim:                        $10.00          $0.00           $10.00


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 4 of 6
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 Debtor 1 Eleanor Jones Hamilton                                                                            Case number (if know)
              First Name                 Middle Name                      Last Name


       Creditor's Name                            PERSONAL PROPERTY

                                                  As of the date you file, the claim is: Check all that
       P.O. BOX 1260                              apply.
       THOMSON, GA 30824                               Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
                                                        car loan)
    Debtor 2 only
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)   Purchase Money Security
    community debt

 Date debt was incurred        UNKNOWN                     Last 4 digits of account number         UNK


   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $52,651.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                  $52,651.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

        Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
        DOCTORS & MERCHANTS
        955 GREENE STREET                                                                           Last 4 digits of account number
        AUGUSTA, GA 30901-2231

        Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
        DOCTORS & MERCHANTS
        P.O. BOX 1588                                                                               Last 4 digits of account number
        AUGUSTA, GA 30903

        Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.10
        JANET L. WOMACK
        1250 PEACHTREE CENTER TOWER                                                                 Last 4 digits of account number
        230 PEACHTREE STREET NW
        ATLANTA, GA 30303

        Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.3
        MCDUFFIE COUNTY SUPERIOR COURT
        P.O. BOX 158                                                                                Last 4 digits of account number
        THOMSON, GA 30824

        Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.4
        PRIOR VEAZEY CASON
        393 VFW ROAD                                                                                Last 4 digits of account number
        THOMSON, GA 30824

        Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.6
        SECURITY FINANCE CENTRAL BANKRUPTCY
        P. O. BOX 1893                                                                              Last 4 digits of account number
        SPARTANBURG, SC 29304-1893


Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                     page 5 of 6
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 Debtor 1 Eleanor Jones Hamilton                                                          Case number (if know)
              First Name                Middle Name                  Last Name



        Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.9
        SUNSET FINANCE
        510 MOUNTAIN VIEW DRIVE                                                    Last 4 digits of account number
        SUITE 500
        SENECA, SC 29672

        Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.12
        W. S. BADCOCK
        P. O. BOX 232                                                              Last 4 digits of account number
        MULBERRY, FL 33860

        Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.7
        WOODARD & BUTLER
        P.O. BOX 1906                                                              Last 4 digits of account number
        WALTERBORO, SC 29488




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 6 of 6
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 Fill in this information to identify your case:

 Debtor 1                   Eleanor Jones Hamilton
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          AMERIMARK PREMIER                                       Last 4 digits of account number         UNK                                                            $313.00
              Nonpriority Creditor's Name
              1112 7TH AVE                                            When was the debt incurred?             2/13/2012
              MONROE, WI 53566-1364
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                           Contingent
                  Debtor 2 only                                           Unliquidated
                  Debtor 1 and Debtor 2 only                              Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                     Other. Specify   CREDIT CARD PURCHASES




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 14
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 4.2      ASHRO                                                      Last 4 digits of account number       UNK                                                $564.00
          Nonpriority Creditor's Name
          1112 7TH AVE.                                              When was the debt incurred?           2/2012
          MONROE, WI 53566-1364
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES


          AUGUSTA METRO FEDERAL
 4.3      CREDIT UNION                                               Last 4 digits of account number       UNK                                                $340.00
          Nonpriority Creditor's Name
          2338 LUMPKIN ROAD                                          When was the debt incurred?           UNKNOWN
          AUGUSTA, GA 30906
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MISC. CONSUMER DEBT


 4.4      CHADWICKS                                                  Last 4 digits of account number       UNK                                                $464.00
          Nonpriority Creditor's Name
          P. O. BOX 659562                                           When was the debt incurred?           UNKNOWN
          SAN ANTONIO, TX 78265
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 14
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 4.5      COMCAST                                                    Last 4 digits of account number       UNK                                                $158.00
          Nonpriority Creditor's Name
          105 RIVER SHOALS PKWY                                      When was the debt incurred?           UNKNOWN
          AUGUSTA, GA 30909
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   UTILITY DEBT


 4.6      COMCAST                                                    Last 4 digits of account number       UNK                                                $828.00
          Nonpriority Creditor's Name
          105 RIVER SHOALS PKWY                                      When was the debt incurred?           UNKNOWN
          AUGUSTA, GA 30909
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   UTILITY DEBT/COLLECTION ACCOUNT


 4.7      COMCAST                                                    Last 4 digits of account number       UNK                                                  $85.00
          Nonpriority Creditor's Name
          105 RIVER SHOALS PKWY                                      When was the debt incurred?           UNKNOWN
          AUGUSTA, GA 30909
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   UTILITY DEBT/COLLECTION ACCOUNT




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 14
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 4.8      CROSS COUNTRY BANK                                         Last 4 digits of account number       UNK                                                $625.00
          Nonpriority Creditor's Name
          P.O. BOX 17123                                             When was the debt incurred?           UNKNOWN
          WILMINGTON, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES


 4.9      DALE'S AUTO SALES                                          Last 4 digits of account number       UNK                                                  $10.00
          Nonpriority Creditor's Name
          1746 WASHINGTON ROAD                                       When was the debt incurred?           UNKNOWN
          THOMSON, GA 30824
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   DEFICIENCY


 4.1
 0        DIRECTV                                                    Last 4 digits of account number       UNK                                                $190.00
          Nonpriority Creditor's Name
          P.O. BOX 6550                                              When was the debt incurred?           11/6/1997
          GREENWOOD VILLAGE, CO
          80155-6550
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   UTILITY DEBT/COLLECTION ACCOUNT




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 14
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 4.1
 1        FARMERS STATE BANK                                         Last 4 digits of account number       UNK                                                $399.00
          Nonpriority Creditor's Name
          P.O. BOX 99                                                When was the debt incurred?           8/7/2015
          LINCOLNTON, GA 30817
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MISC. CONSUMER DEBT


 4.1
 2        FIRST CITIZENS BANK                                        Last 4 digits of account number       UNK                                                $200.00
          Nonpriority Creditor's Name
          P. O. BOX 29                                               When was the debt incurred?           UNKNOWN
          COLUMBIA, SC 29202
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MISC. CONSUMER DEBT


 4.1
 3        FIRST PREMIER BANK                                         Last 4 digits of account number       UNK                                                $455.00
          Nonpriority Creditor's Name
          P.O. BOX 5524                                              When was the debt incurred?           UNKNOWN
          SIOUX FALLS, SD 57117-5524
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES




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 4.1
 4        GEORGIA POWER COMPANY                                      Last 4 digits of account number       UNK                                                $400.00
          Nonpriority Creditor's Name
          2500 PATRICK HENRY PARKWAY                                 When was the debt incurred?           UNKNOWN
          BIN # 80002
          MCDONOUGH, GA 30253-4298
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   UTILITY DEBT


 4.1
 5        GOLD CROSS EMS                                             Last 4 digits of account number       UNK                                                $435.00
          Nonpriority Creditor's Name
          P. O. BOX 14848                                            When was the debt incurred?           UNKNOWN
          AUGUSTA, GA 30919
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL DEBT/COLLECTION ACCOUNT


 4.1      HICKORY HILL EMERGENCY
 6        PHYSICIANS                                                 Last 4 digits of account number       UNK                                                $573.00
          Nonpriority Creditor's Name
          P.O. BOX 37767                                             When was the debt incurred?           UNKNOWN
          PHILADELPHIA, PA 19101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL DEBT/COLLECTION ACCOUNT




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 4.1      HICKORY HILL EMERGENCY
 7        PHYSICIANS                                                 Last 4 digits of account number       UNK                                                $573.00
          Nonpriority Creditor's Name
          P.O. BOX 37767                                             When was the debt incurred?           UNKNOWN
          PHILADELPHIA, PA 19101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL DEBT/COLLECTION ACCOUNT


 4.1
 8        JEFFERSON CAPITAL LLC                                      Last 4 digits of account number       UNK                                            $10,992.00
          Nonpriority Creditor's Name
          16 MCLELAND ROAD                                           When was the debt incurred?           UNKNOWN
          SAINT CLOUD, MN 56303-2198
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   DEFICIENCY/COLLECTION ACCOUNT


 4.1
 9        JH PORTFOLIO DEBT EQUITIES                                 Last 4 digits of account number       UNK                                                $134.00
          Nonpriority Creditor's Name
          5757 PHANTOM DR., STE 225                                  When was the debt incurred?           UNKNOWN
          HAZELWOOD, MO 63042-2429
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         CREDIT CARD PURCHASES/COLLECTION
              Yes                                                       Other. Specify   ACCOUNT




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 4.2
 0        PROVIDIAN FINANCIAL                                        Last 4 digits of account number       UNK                                                $426.00
          Nonpriority Creditor's Name
          C/O RESURGENT CAPITAL                                      When was the debt incurred?           UNKNOWN
          SERVICES
          P.O. BOX 10587
          GREENVILLE, SC 29603
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         CREDIT CARD PURCHASES/COLLECTION
              Yes                                                       Other. Specify   ACCOUNT


 4.2
 1        REGIONS BANK                                               Last 4 digits of account number       UNK                                                $179.00
          Nonpriority Creditor's Name
          CONSUMER COLLECTIONS                                       When was the debt incurred?           UNKNOWN
          P.O. BOX 10063
          BIRMINGHAM, AL 35202
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   OVERDRAFT


 4.2
 2        SALUTE VISA GOLD                                           Last 4 digits of account number       UNK                                                $526.00
          Nonpriority Creditor's Name
          P.O. BOX 23051                                             When was the debt incurred?           UNKNOWN
          COLUMBUS, GA 31902
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES




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 4.2
 3        SUMMIT FINANCIAL                                           Last 4 digits of account number       UNK                                              $8,304.00
          Nonpriority Creditor's Name
          100 NW 100TH AVE                                           When was the debt incurred?           02/20/2013
          PLANTATION, FL 33324-7008
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   DEFICIENCY


 4.2
 4        SWISS COLONY                                               Last 4 digits of account number       UNK                                                $492.00
          Nonpriority Creditor's Name
          1112 7TH AVE                                               When was the debt incurred?           11/21/2012
          MONROE, WI 53566-1364
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES


 4.2
 5        TOM & FRANCES TILLMAN                                      Last 4 digits of account number       UNK                                              $4,110.00
          Nonpriority Creditor's Name
          5611 GARY USRY ROAD                                        When was the debt incurred?           UNKNOWN
          GIBSON, GA 30810
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MISC. CONSUMER DEBT




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 4.2      TRI-CAP INVESTMENT PARTNERS,
 6        LLC                                                        Last 4 digits of account number       UNK                                                $790.00
          Nonpriority Creditor's Name
          C/O RICHARD J. BOUDREAU &                                  When was the debt incurred?           UNKNOWN
          ASSOC., LLC
          5 INDUSTRIAL WAY
          SALEM, NH 03079
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         CREDIT CARD PURCHASES/COLLECTION
              Yes                                                       Other. Specify   ACCOUNT


 4.2
 7        TRIBUTE MASTERCARD                                         Last 4 digits of account number       UNK                                                $565.00
          Nonpriority Creditor's Name
          C/O JEFFERSON CAPITAL                                      When was the debt incurred?           UNKNOWN
          SYSTEMS, LLC
          P.O. BOX 23051
          COLUMBUS, GA 31902
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         CREDIT CARD PURCHASES/COLLECTION
              Yes                                                       Other. Specify   ACCOUNT


 4.2
 8        U.S. AUTO FINANCE, INC.                                    Last 4 digits of account number       UNK                                              $8,286.00
          Nonpriority Creditor's Name
          540 HOSEA RD                                               When was the debt incurred?           2/24/2014
          LAWRENCEVILLE, GA 30046-6728
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   DEFICIENCY



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 4.2
 9         VERIZON WIRELESS                                          Last 4 digits of account number       UNK                                                      $2,494.00
           Nonpriority Creditor's Name
           3 VERIZON PL                                              When was the debt incurred?           10/23/2013
           ALPHARETTA, GA 30004-8510
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   UTILITY DEBT


 4.3
 0         WESTLAKE SERVICE INC.                                     Last 4 digits of account number       UNK                                                      $7,848.00
           Nonpriority Creditor's Name
           4751 WILSHIRE BLVD                                        When was the debt incurred?           05/30/2012
           SUITE 100
           LOS ANGELES, CA 90010
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   DEFICIENCY

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AMERIMARK PREMIER                                             Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P. O. BOX 2845                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 MONROE, WI 53566
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AUGUSTA COLLECTION AGENCY                                     Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2600 WRIGHTSBORO ROAD                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 AUGUSTA, GA 30904
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AUGUSTA METRO FEDERAL                                         Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 CREDIT UNION                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 P. O. BOX 213089
 AUGUSTA, GA 30917-3089
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CENTRAL CREDIT SERVICES                                       Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims


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 7825 WASHINGTON AVE. SOUTH                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 MINNEAPOLIS, MN 55439-2430
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CENTRAL CREDIT SERVICES                                       Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 20 CORPORATE HILLS DR.                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 ST. CHARLES, MO 66301
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CENTRAL CREDIT SERVICES                                       Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 20 CORPORATE HILLS DR.                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 ST. CHARLES, MO 66301
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CENTRAL CREDIT SERVICES                                       Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 7825 WASHINGTON AVE. SOUTH                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 MINNEAPOLIS, MN 55439-2430
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CROSS COUNTRY BANK                                            Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P. O. BOX 310711                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 BOCA RATON, FL 33431
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 DIRECTV/PEGASUS SATELLITE TV,                                 Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 INC.                                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 C/O JEFFERSON CAPITAL
 SYSTEMS, LLC
 P.O. BOX 23051
 COLUMBUS, GA 31902
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 DT CREDIT CORP.                                               Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 DBA DRIVETIME                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. BOX 29018
 PHOENIX, AZ 85038
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FINGERHUT                                                     Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 166                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 NEWARK, NJ 07101
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FINGERHUT/WEBBANK                                             Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6250 RIDGEWOOD RD.                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 SAINT CLOUD, MN 56303-0820
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FIRST PREMIER BANK                                            Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3820 N. LOUISE AVE.                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 SIOUX FALLS, SD 57107-0145
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FIRST PREMIER BANK                                            Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 601 S. MINNESOTA AVENUE                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 SIOUX FALLS, SD 57104
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GE CONSUMER FINANCE                                           Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims

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 ATTN: BANKRUPTCY DEPT.                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. BOX 103104
 ROSWELL, GA 30076
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GEORGIA POWER COMPANY                                         Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 96 ANNEX                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 ATLANTA, GA 30396
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 JEFFERSON CAPITAL LLC                                         Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 16 MCLELAND ROAD                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 SAINT CLOUD, MN 56303-2198
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 JEFFERSON CAPITAL LLC                                         Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 16 MCLELAND ROAD                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 SAINT CLOUD, MN 56303-2198
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 JEFFERSON CAPITAL SYSTEMS,                                    Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 LLC                                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. BOX 7999
 SAINT CLOUD, MN 56302-9617
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 JEFFERSON CAPITAL SYSTEMS,                                    Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 LLC                                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. BOX 7999
 SAINT CLOUD, MN 56302-9617
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 JEFFERSON CAPITAL SYSTEMS,                                    Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 LLC                                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. BOX 7999
 SAINT CLOUD, MN 56302-9617
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 LVNV FUNDING, LLC                                             Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 10497                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 GREENVILLE, SC 29603
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 LVNV FUNDING, LLC                                             Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 10584                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 GREENVILLE, SC 29603-0584
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PREMIER BANKCARD/CHARTER                                      Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 2208                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 VACAVILLE, CA 95696
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SOUTHWEST CREDIT SYSTEMS,                                     Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 L.P.                                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 4120 INTERNATIONAL PARKWAY
 SUITE 1100
 CARROLLTON, TX 75007
                                                               Last 4 digits of account number


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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SOUTHWEST CREDIT SYSTEMS,                                     Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 L.P.                                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 4120 INTERNATIONAL PARKWAY
 SUITE 1100
 CARROLLTON, TX 75007
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SUMMIT FINANCIAL                                              Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6363 TAFT ST, STE #104                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 HOLLYWOOD, FL 33024-5959
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SWISS COLONY/ASHRO                                            Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 3650 MILWAUKEE ST.                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 MADISON, WI 53714
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 TOM & FRANCES TILLMAN                                         Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 C/O ROBERT E. KNOX, JR.                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. BOX 539
 THOMSON, GA 30824
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 VERIZON WIRELESS                                              Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 26055                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 MINNEAPOLIS, MN 55426
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 WESTLAKE FINANCIAL SERVICES                                   Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 54807                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 LOS ANGELES, CA 90054-0807
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                    51,758.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                    51,758.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 14 of 14
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
            Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16 13:13:04                                                        Page:39 of 65
 Fill in this information to identify your case:

 Debtor 1                  Eleanor Jones Hamilton
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               SOUTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       AARON'S                                                                    PERSONAL PROPERTY LEASE
               1015 COBB PLACE BLVD NW
               KENNESAW, GA 30144




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
           Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16 13:13:04                                               Page:40 of 65
 Fill in this information to identify your case:

 Debtor 1                   Eleanor Jones Hamilton
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         KENNETH HAMILTON                                                                     Schedule D, line   2.10
                1067 EARLE STREET                                                                    Schedule E/F, line
                THOMSON, GA 30824
                                                                                                     Schedule G
                                                                                                   USA DISCOUNTERS LTD




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 1
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          Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16 13:13:04                                                    Page:41 of 65


Fill in this information to identify your case:

Debtor 1                      Eleanor Jones Hamilton

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF GEORGIA

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            DISABLED                                   LABORER
       Include part-time, seasonal, or
       self-employed work.                                                                                    GEORGIA RIGHT-OF-WAY
                                             Employer's name                                                  COMPANY
       Occupation may include student
       or homemaker, if it applies.          Employer's address



                                             How long employed there?                                                   4 YEARS

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1       For Debtor 2 or
                                                                                                                          non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $             0.00     $         2,862.00

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00     +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $          0.00            $   2,862.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
        Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16 13:13:04                                                         Page:42 of 65
Debtor 1    Eleanor Jones Hamilton                                                                Case number (if known)



                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $         2,862.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $              0.00     $           503.00
      5b.   Mandatory contributions for retirement plans                                   5b.        $              0.00     $             0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $              0.00     $           114.00
      5d.   Required repayments of retirement fund loans                                   5d.        $              0.00     $            87.00
      5e.   Insurance                                                                      5e.        $              0.00     $           128.00
      5f.   Domestic support obligations                                                   5f.        $              0.00     $             0.00
      5g.   Union dues                                                                     5g.        $              0.00     $             0.00
      5h.   Other deductions. Specify:                                                     5h.+       $              0.00 +   $             0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $           832.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $        2,030.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00     $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $          0.00         $                0.00
      8d. Unemployment compensation                                                        8d.        $          0.00         $                0.00
      8e. Social Security                                                                  8e.        $        759.00         $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                0.00   $                      0.00
      8g. Pension or retirement income                                                     8g. $                 0.00   $                      0.00
      8h. Other monthly income. Specify: ODD JOBS                                          8h.+ $              238.00 + $                      0.00
            PRORATED 2015 FEDERAL & STATE TAX REFUNDS/CREDITS
            (EST.)                                                                                    $              0.00     $           300.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            997.00         $           300.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $               997.00 + $          2,330.00 = $           3,327.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.    $          3,327.00
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                         page 2
      Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16 13:13:04                                                               Page:43 of 65


Fill in this information to identify your case:

Debtor 1                 Eleanor Jones Hamilton                                                            Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF GEORGIA                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s      Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age              live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            GRANDDAUGHTER                        16                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                              350.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             32.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                            100.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            150.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                            150.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
      Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16 13:13:04                                                                 Page:44 of 65
Debtor 1     Eleanor Jones Hamilton                                                                    Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 175.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 140.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 101.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                745.00
8.    Childcare and children’s education costs                                                 8. $                                                100.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                209.00
10.   Personal care products and services                                                    10. $                                                 150.00
11.   Medical and dental expenses                                                            11. $                                                 100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 245.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  25.00
14.   Charitable contributions and religious donations                                       14. $                                                 240.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                     0.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       3,012.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       3,012.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,327.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              3,012.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 315.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
           Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16 13:13:04                                                       Page:45 of 65



 Fill in this information to identify your case:

 Debtor 1                    Eleanor Jones Hamilton
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Eleanor Jones Hamilton                                                X
              Eleanor Jones Hamilton                                                    Signature of Debtor 2
              Signature of Debtor 1

              Date       June 6, 2016                                                   Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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           Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16 13:13:04                                                               Page:46 of 65


 Fill in this information to identify your case:

 Debtor 1                  Eleanor Jones Hamilton
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                                 Check if this is an
                                                                                                                                            amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                             Dates Debtor 2
                                                                 lived there                                                                    lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
 Debtor 1
         Case:16-10760-SDB Doc#:1 Filed:06/06/16 Entered:06/06/16   13:13:04
                                                          Case number (if known)
                                                                                                                                       Page:47 of 65
               Eleanor Jones Hamilton


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income         Gross income
                                                   Describe below.                  each source                    Describe below.           (before deductions
                                                                                    (before deductions and                                   and exclusions)
                                                                                    exclusions)
 From January 1 of current year until SOCIAL SECURITY                                             $4,554.00
 the date you filed for bankruptcy:   BENEFITS (AMOUNT
                                                   ESTIMATED)

 For last calendar year:                           SOCIAL SECURITY                                $8,868.00
 (January 1 to December 31, 2015 )                 BENEFITS (AMOUNT
                                                   ESTIMATED)

 For the calendar year before that:                SOCIAL SECURITY                                $8,628.00
 (January 1 to December 31, 2014 )                 BENEFITS (AMOUNT
                                                   ESTIMATED)


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you    Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you    Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 2
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      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       WILKES MEMORIAL (CHURCH)                                      TITHES; APPROXIMATELY                                    WITHIN THE                   $1,680.00
       WARRENTON, GA 30828                                           $70.00/MONTH                                             PAST TWO (2)
                                                                                                                              YEARS


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 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your         Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                              lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       001 DEBTORCC                                                  $14.95                                                   JUNE 2016                       $14.95

       WWW.DEBTORCC.ORG


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or          Date transfer was
       Address                                                       property transferred                       payments received or debts        made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                            Date Transfer was
                                                                                                                                                  made




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 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or          Date account was          Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                  closed, sold,         before closing or
       Code)                                                                                                              moved, or                      transfer
                                                                                                                          transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?                 Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                              have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                      have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                        Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you     Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)




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25. Have you notified any governmental unit of any release of hazardous material?

             No
             Yes. Fill in the details.
        Name of site                                                 Governmental unit                             Environmental law, if you        Date of notice
        Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No
             Yes. Fill in the details.
        Case Title                                                   Court or agency                            Nature of the case                  Status of the
        Case Number                                                  Name                                                                           case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business                Employer Identification number
        Address                                                                                                     Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                    Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Eleanor Jones Hamilton
 Eleanor Jones Hamilton                                                  Signature of Debtor 2
 Signature of Debtor 1

 Date      June 6, 2016                                                  Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 6
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 Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

 Debtor 1              Eleanor Jones Hamilton                                                                  According to the calculations required by this
                                                                                                               Statement:
 Debtor 2
                                                                                                                     1. Disposable income is not determined under
 (Spouse, if filing)
                                                                                                                        11 U.S.C. § 1325(b)(3).
 United States Bankruptcy Court for the:            Southern District of Georgia                                     2. Disposable income is determined under 11
                                                                                                                        U.S.C. § 1325(b)(3).
 Case number
 (if known)
                                                                                                                     3. The commitment period is 3 years.

                                                                                                                     4. The commitment period is 5 years.

                                                                                                                   Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

 Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married. Fill out both Columns A and B, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                 Column B
                                                                                                       Debtor 1                 Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                                 0.00      $         2,862.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                            $              0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                             0.00      $               0.00
  5. Net income from operating a business,
     profession, or farm                                             Debtor 1
        Gross receipts (before all deductions)                           $      0.00
        Ordinary and necessary operating expenses                       -$      0.00
        Net monthly income from a business, profession, or farm $               0.00 Copy here -> $                   0.00      $               0.00
  6. Net income from rental and other real property                  Debtor 1
        Gross receipts (before all deductions)                         $      0.00
        Ordinary and necessary operating expenses                       -$      0.00
        Net monthly income from rental or other real property           $       0.00 Copy here -> $                   0.00      $               0.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                         page 1
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 Debtor 1     Eleanor Jones Hamilton                                                                            Case number (if known)



                                                                                                            Column A                      Column B
                                                                                                            Debtor 1                      Debtor 2 or
                                                                                                                                          non-filing spouse
                                                                                                            $                  0.00       $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                              $                  0.00       $            0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $                       0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                 $                  0.00       $            0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
                  ODD JOBS                                                                                  $              238.00         $            0.00
                                                                                                            $                  0.00       $            0.00
                  Total amounts from separate pages, if any.                                            +   $                  0.00       $            0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                     $         238.00            +   $      2,862.00     =    $      3,100.00

                                                                                                                                                               Total average
                                                                                                                                                               monthly income
 Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                             $          3,100.00
  13. Calculate the marital adjustment. Check one:
              You are not married. Fill in 0 below.
              You are married and your spouse is filing with you. Fill in 0 below.
              You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
              dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
              adjustments on a separate page.
              If this adjustment does not apply, enter 0 below.
                                                                                                    $
                                                                                                    $
                                                                                                 +$

                     Total                                                                        $                    0.00           Copy here=>          -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                                      $          3,100.00

  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                                       $          3,100.00

                Multiply line 15a by 12 (the number of months in a year).                                                                                      x 12

        15b. The result is your current monthly income for the year for this part of the form. ...........................................             $         37,200.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                  page 2
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 Debtor 1     Eleanor Jones Hamilton                                                             Case number (if known)




  16. Calculate the median family income that applies to you. Follow these steps:
       16a. Fill in the state in which you live.                         GA

       16b. Fill in the number of people in your household.               3
       16c. Fill in the median family income for your state and size of household.                                                       $     58,308.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                      11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
       17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                      1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                      your current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 18. Copy your total average monthly income from line 11 .                                                                       $                  3,100.00
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
     contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
     spouse's income, copy the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                      -$                       0.00


       19b. Subtract line 19a from line 18.                                                                                          $          3,100.00


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b                                                                                                                $      3,100.00

              Multiply by 12 (the number of months in a year).                                                                               x 12

       20b. The result is your current monthly income for the year for this part of the form                                             $     37,200.00




       20c. Copy the median family income for your state and size of household from line 16c                                             $     58,308.00


       21. How do the lines compare?

                   Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                   period is 3 years. Go to Part 4.

                   Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                   commitment period is 5 years. Go to Part 4.

 Part 4:       Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X /s/ Eleanor Jones Hamilton
        Eleanor Jones Hamilton
        Signature of Debtor 1
       Date June 6, 2016
            MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 122C-2.
       If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                page 3
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Southern District of Georgia
 In re       Eleanor Jones Hamilton                                                                           Case No.
                                                                                 Debtor(s)                    Chapter       13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  1,950.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                  1,950.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

                  Any time spent on this case in excess of 7.69 hours will be billed at an hourly rate of $195.00.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.




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 In re       Eleanor Jones Hamilton                                                                    Case No.
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 6, 2016                                                                  /s/ JOHN P. WILLS
     Date                                                                          JOHN P. WILLS 767375
                                                                                   Signature of Attorney
                                                                                   Fowler & Wills, LLC
                                                                                   318 Jackson Street
                                                                                   P.O. Box 1620
                                                                                   Thomson, GA 30824
                                                                                   706-595-8100 Fax: 706-595-9034
                                                                                   fowlerwills@gmail.com
                                                                                   Name of law firm


 Date June 6, 2016                                                     Signature   /s/ Eleanor Jones Hamilton
                                                                                   Eleanor Jones Hamilton
                                                                                   Debtor




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                                                               United States Bankruptcy Court
                                                                     Southern District of Georgia
 In re      Eleanor Jones Hamilton                                                                          Case No.
                                                                                 Debtor(s)                  Chapter    13


                                        CERTIFICATION OF CREDITOR MAILING MATRIX


            The purpose of the Certification of Creditor Mailing Matrix form is to certify that the creditor
            information provided on the diskette (or by ECF submission) matches exactly the creditor
            information provided on the schedules. Accordingly, I hereby certify under penalty of perjury that
            the master mailing list of creditors submitted on computer diskette or electronically via the
            CM/ECF system is a true, correct and complete listing to the best of my knowledge and that the
            names and number of creditors provided on the diskette/ECF submission corresponds exactly to
            the creditor information listed on the schedules.

            I further acknowledge that (1) the accuracy and completeness in preparing the creditor listing are
            the shared responsibility of the debtor and the debtor's attorney; (2) the court will rely on the
            creditor listing for all mailings; (3) the various schedules and statements required by the
            Bankruptcy Rules are not used for mailing purposes; and (4) that debtor, attorney and trustee
            information is not included on the diskette or electronic submission.

            The master mailing list of creditors is submitted via:

                        computer diskette listing a total of                    creditors which corresponds exactly to the
                        schedules; or

                        electronic means (ECF) listing a total of                75     creditors which corresponds exactly to
                        the schedules.




                                                                                   /s/ Eleanor Jones Hamilton
                                                                                   Eleanor Jones Hamilton
                                                                                   Debtor


                                                                                   /s/ JOHN P. WILLS
                                                                                   JOHN P. WILLS 767375
                                                                                   Attorney for Debtor(s)

            Date:        June 6, 2016




             Revised: 10/05                                                                           EXHIBIT 1

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ELEANOR JONES HAMILTON            CENTRAL CREDIT SERVICES          DOCTORS & MERCHANTS
1067 EARLE STREET                 7825 WASHINGTON AVE. SOUTH       955 GREENE STREET
THOMSON GA 30824                  MINNEAPOLIS MN 55439-2430        AUGUSTA GA 30901-2231



JOHN P. WILLS                     CENTRAL CREDIT SERVICES          DOCTORS & MERCHANTS
FOWLER & WILLS, LLC               20 CORPORATE HILLS DR.           P.O. BOX 1588
318 JACKSON STREET                ST. CHARLES MO 66301             AUGUSTA GA 30903
P.O. BOX 1620
THOMSON, GA 30824

AARON'S                           CHADWICKS                        DT CREDIT CORP.
1015 COBB PLACE BLVD NW           P. O. BOX 659562                 DBA DRIVETIME
KENNESAW GA 30144                 SAN ANTONIO TX 78265             P.O. BOX 29018
                                                                   PHOENIX AZ 85038


AMERIMARK PREMIER                 COMCAST                          FARMERS STATE BANK
1112 7TH AVE                      105 RIVER SHOALS PKWY            P.O. BOX 99
MONROE WI 53566-1364              AUGUSTA GA 30909                 LINCOLNTON GA 30817



AMERIMARK PREMIER                 CROSS COUNTRY BANK               FINGERHUT
P. O. BOX 2845                    P.O. BOX 17123                   P.O. BOX 166
MONROE WI 53566                   WILMINGTON DE 19850              NEWARK NJ 07101



ASHRO                             CROSS COUNTRY BANK               FINGERHUT/WEBBANK
1112 7TH AVE.                     P. O. BOX 310711                 6250 RIDGEWOOD RD.
MONROE WI 53566-1364              BOCA RATON FL 33431              SAINT CLOUD MN 56303-0820



AUGUSTA COLLECTION AGENCY         DALE'S AUTO SALES                FIRST CITIZENS BANK
2600 WRIGHTSBORO ROAD             1746 WASHINGTON ROAD             P. O. BOX 29
AUGUSTA GA 30904                  THOMSON GA 30824                 COLUMBIA SC 29202



AUGUSTA METRO FEDERAL CREDIT UNION
                              DIRECTV                              FIRST PREMIER BANK
2338 LUMPKIN ROAD             P.O. BOX 6550                        P.O. BOX 5524
AUGUSTA GA 30906              GREENWOOD VILLAGE CO 80155-6550      SIOUX FALLS SD 57117-5524



AUGUSTA METRO FEDERAL CREDIT UNION
                              DIRECTV/PEGASUS SATELLITE TV, INC.FIRST PREMIER BANK
P. O. BOX 213089              C/O JEFFERSON CAPITAL SYSTEMS, LLC3820 N. LOUISE AVE.
AUGUSTA GA 30917-3089         P.O. BOX 23051                    SIOUX FALLS SD 57107-0145
                              COLUMBUS GA 31902
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FIRST PREMIER BANK              JEFFERSON CAPITAL SYSTEMS, LLC   PRIOR VEAZEY CASON
601 S. MINNESOTA AVENUE         P.O. BOX 7999                    C/O HITCHCOCK & HITCHCOCK, P
SIOUX FALLS SD 57104            SAINT CLOUD MN 56302-9617        P.O. BOX 190
                                                                 SPARTA GA 31087


GE CONSUMER FINANCE             JH PORTFOLIO DEBT EQUITIES       PRIOR VEAZEY CASON
ATTN: BANKRUPTCY DEPT.          5757 PHANTOM DR., STE 225        393 VFW ROAD
P.O. BOX 103104                 HAZELWOOD MO 63042-2429          THOMSON GA 30824
ROSWELL GA 30076


GEORGIA POWER COMPANY           KENNETH HAMILTON                 PROVIDIAN FINANCIAL
2500 PATRICK HENRY PARKWAY      1067 EARLE STREET                C/O RESURGENT CAPITAL SERV
BIN # 80002                     THOMSON GA 30824                 P.O. BOX 10587
MCDONOUGH GA 30253-4298                                          GREENVILLE SC 29603


GEORGIA POWER COMPANY           LARRY'S AUTO SALES               REGIONS BANK
96 ANNEX                        1883 GORDON HIGHWAY              CONSUMER COLLECTIONS
ATLANTA GA 30396                AUGUSTA GA 30904                 P.O. BOX 10063
                                                                 BIRMINGHAM AL 35202


GOLD CROSS EMS                  LVNV FUNDING, LLC                SALUTE VISA GOLD
P. O. BOX 14848                 P.O. BOX 10497                   P.O. BOX 23051
AUGUSTA GA 30919                GREENVILLE SC 29603              COLUMBUS GA 31902



HICKORY HILL EMERGENCY PHYSICIANS
                               LVNV FUNDING, LLC                 SECURITY FINANCE
P.O. BOX 37767                 P.O. BOX 10584                    112 JACKSON STREET
PHILADELPHIA PA 19101          GREENVILLE SC 29603-0584          THOMSON GA 30824



HUGHES FURNITURE CO.            MCDUFFIE COUNTY SUPERIOR COURTSECURITY FINANCE CENTRAL B
P.O. BOX 95                     P.O. BOX 158                  P. O. BOX 1893
THOMSON GA 30824                THOMSON GA 30824              SPARTANBURG SC 29304-1893



JANET L. WOMACK                 MCDUFFIE COUNTY TAX COMMISSIONER
                                                              SOUTHERN GENERAL INSURANCC
1250 PEACHTREE CENTER TOWER     P.O. BOX 955                  AS SUBROGEE OF PERRY WATK
230 PEACHTREE STREET NW         THOMSON GA 30824              1904 LELAND DRIVE
ATLANTA GA 30303                                              MARIETTA GA 30067


JEFFERSON CAPITAL LLC           PREMIER BANKCARD/CHARTER         SOUTHWEST CREDIT SYSTEMS,L.
16 MCLELAND ROAD                P.O. BOX 2208                    4120 INTERNATIONAL PARKWAY
SAINT CLOUD MN 56303-2198       VACAVILLE CA 95696               SUITE 1100
                                                                 CARROLLTON TX 75007
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STERLING FINANCE                TRI-CAP INVESTMENT PARTNERS, LLC WESTLAKE FINANCIAL SERVICES
DBA ARROW FINANCE               C/O RICHARD J. BOUDREAU & ASSOC.,P.O.
                                                                  LLC BOX 54807
863 BROAD STREET                5 INDUSTRIAL WAY                 LOS ANGELES CA 90054-0807
AUGUSTA GA 30901-1214           SALEM NH 03079


SUMMIT FINANCIAL                TRIBUTE MASTERCARD               WESTLAKE SERVICE INC.
100 NW 100TH AVE                C/O JEFFERSON CAPITAL SYSTEMS, LLC
                                                                 4751 WILSHIRE BLVD
PLANTATION FL 33324-7008        P.O. BOX 23051                   SUITE 100
                                COLUMBUS GA 31902                LOS ANGELES CA 90010


SUMMIT FINANCIAL                U.S. AUTO FINANCE, INC.          WOODARD & BUTLER
6363 TAFT ST, STE #104          540 HOSEA RD                     P.O. BOX 1906
HOLLYWOOD FL 33024-5959         LAWRENCEVILLE GA 30046-6728      WALTERBORO SC 29488



SUNSET FINANCE                  USA DISCOUNTERS LTD
134 RAILROAD STREET             3320 HOLLAND RD
THOMSON GA 30824                VIRGINIA BEACH VA 23452-4826



SUNSET FINANCE                  USED CARS OF HARLEM
510 MOUNTAIN VIEW DRIVE         P.O. BOX 988
SUITE 500                       HARLEM GA 30814
SENECA SC 29672


SWISS COLONY                    VERIZON WIRELESS
1112 7TH AVE                    3 VERIZON PL
MONROE WI 53566-1364            ALPHARETTA GA 30004-8510



SWISS COLONY/ASHRO              VERIZON WIRELESS
3650 MILWAUKEE ST.              P.O. BOX 26055
MADISON WI 53714                MINNEAPOLIS MN 55426



TOM & FRANCES TILLMAN           W. S. BADCOCK
5611 GARY USRY ROAD             P.O. BOX 1260
GIBSON GA 30810                 THOMSON GA 30824



TOM & FRANCES TILLMAN           W. S. BADCOCK
C/O ROBERT E. KNOX, JR.         P. O. BOX 232
P.O. BOX 539                    MULBERRY FL 33860
THOMSON GA 30824
